 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Northern
 ____________________             Ohio
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          FirstEnergy Solutions Corp.
                                           ______________________________________________________________________________________________________



                                            N/A
                                           ______________________________________________________________________________________________________
2.   All other names debtor used
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              3 1          1 5 6 0 1 8 6
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            341        White Pond Drive
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            Building B3
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Akron                      OH       44320
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Summit
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 https://www.fes.com/
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            ✔



                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1


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Debtor
                 First Energy Solutions Corp.
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



                                           A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above
                                            ✔




                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                2 ___
                                                ___ 2 ___ 1
                                                      1 ___
8.    Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                            ✔



                                                          Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                 4/01/19 and every 3 years after that).
                                                            
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                 debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                 of operations, cash-flow statement, and federal income tax return or if all of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             ✔

                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                 for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                            Chapter 12
9.    Were prior bankruptcy cases          
                                           ✔ No
      filed by or against the debtor
      within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                                MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10. Are any bankruptcy cases                No
      pending or being filed by a                         See Schedule 1.
      business partner or an               
                                           ✔ Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                          MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________


     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2


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Debtor          First Energy Solutions Corp.
               _______________________________________________________                       Case number (if known)_____________________________________
               Name




11. Why is the case filed in this       Check all that apply:
   district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         ✔

                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have          No
                                         ✔

   possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number         Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________        _______     ________________
                                                                            City                                           State       ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




          Statistical and administrative information



13. Debtor’s estimation of              Check one:
   available funds                       Funds will be available for distribution to unsecured creditors.
                                         ✔


                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                         50-99                            5,001-10,000                            50,001-100,000
   creditors
                                         100-199                          10,001-25,000                           More than 100,000
                                         200-999
                                         ✔




                                         $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                         $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                                                                                                    ✔


                                         $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                         $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3


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                                          SCHEDULE 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       As of the date hereof, each of the entities listed below (the “Debtors”) filed a petition in
this Court for relief under chapter 11 of title 11 of the United States Bankruptcy Code. The
Debtors will move for joint administration of these cases under the case number assigned to the
chapter 11 case of FirstEnergy Solutions Corp.

   1. FirstEnergy Solutions Corp.

   2. FE Aircraft Leasing Corp.

   3. FirstEnergy Generation, LLC

   4. FirstEnergy Generation Mansfield Unit 1 Corp.

   5. FirstEnergy Nuclear Generation, LLC

   6. FirstEnergy Nuclear Operating Company

   7. Norton Energy Storage L.L.C.




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Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit AA@ shall be completed and attached to the petition.]

                                                             [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
                                        000-53742
        1934, the SEC file number is _______________.

             2. The following financial data is the latest available information and refers to the debtor=s condition on
        ______________.
         12/31/2016
              a. Total assets                                                             $ 7,241 million

              b. Total debts (including debts listed in 2.c., below)                      $ 3,093 million
              c. Debt securities held by more than 500 holders
                                                                                                                           Approximate
                                                                                                                           number of
                                                                                                                           holders:

              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $

              d. Number of shares of preferred stock
              e. Number of shares common stock                                                                                        7

              Comments, if any: Item 2b. includes only funded indebtedness.



              3. Brief description of debtor=s business: FES provides energy-related products and services to retail and
         wholesale customers. FES also owns and operates, through its FG subsidiary, fossil generating facilities and owns,
         through its NG subsidiary, nuclear generating facilities.

            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
         FirstEnergy Corp. owns 100% of the shares of common stock of FirstEnergy Solutions Corp. (FES).




        Official Form 201A              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11


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                              RESOLUTIONS OF
                  THE BOARD OF DIRECTORS (THE “BOARD”) OF
                FIRSTENERGY SOLUTIONS CORP. (THE “COMPANY”)

                                   Dated as of March 31, 2018

                    Authorization to Commence Chapter 11 Proceedings;
                 Authorization to Employ and Retain Requisite Professionals

        WHEREAS, the Board has reviewed and analyzed the materials presented by the
Company’s management and the Company’s financial, legal, and other advisors and has held
numerous, extensive and vigorous discussions (including with management and such advisors)
regarding such materials and the liabilities and liquidity situation of the Company, the short- and
long-term prospects of the Company, the restructuring and strategic alternatives available to the
Company, and the impact of the foregoing on the Company’s business and operations and has
consulted with management and the Company’s financial, legal, and other advisors regarding the
above; and

        WHEREAS, the Board has determined that it is necessary, advisable and in the best
interests of the Company, its creditors, employees, stockholders and other interested parties, and
necessary and convenient to the purpose, conduct, promotion, or attainment of the business and
affairs of Company, that a petition be filed by the Company seeking relief under chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”) and that the Company undertake
related actions.

NOW THEREFORE BE IT:

        RESOLVED, that the Board, in its best judgment, and after consultation with
management and the Company’s financial, legal, and other advisors, has determined that it is
desirable and in the best interests of the Company, its creditors, employees, stockholders and
other interested parties that a voluntary petition for relief under chapter 11 of the Bankruptcy
Code be filed and directs that the Company file or cause to be filed a voluntary petition for relief
under chapter 11 of the Bankruptcy Code;

        RESOLVED FURTHER, that each of the Chairman of the Board, the President, any Vice
President, the Treasurer, the Chief Financial Officer, and the Corporate Secretary of the
Company, each acting alone or together with one or more other officers of the Company that
such individuals may designate, be, and hereby is, authorized and empowered on behalf of, and
in the name of, the Company to execute and verify or certify a petition under chapter 11 of the
Bankruptcy Code and to cause the same to be filed in the United States Bankruptcy Court for the
Northern District of Ohio, Eastern Division at such time as such officers shall determine;

       RESOLVED FURTHER, that the “Authorized Officers” referenced in these resolutions
shall be each of the Chairman of the Board, the President, any Vice President, the Chief
Restructuring Officer, the Treasurer, the Chief Financial Officer, and the Corporate Secretary of
the Company;




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       RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to execute and file all pleadings,
schedules, lists, and other papers, and to take any and all actions that each such officer may deem
necessary or proper in connection with the foregoing resolutions;

        RESOLVED FURTHER, that Charles M. Moore be, and hereby is, appointed and
affirmed as Chief Restructuring Officer of the Company, which appointment shall take effect
immediately upon the filing of the Company’s petition under chapter 11 of the Bankruptcy Code
in the United States Bankruptcy Court for the Northern District of Ohio, Eastern Division, and
shall report to the Board and any applicable officer of the Company as directed by the Board, to
hold such office until his successor has been duly appointed and qualified or until his earlier
death, resignation, retirement or removal;

        RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage Alvarez & Marsal North
America, LLC (“Alvarez”) as restructuring advisor to represent and assist the Company and its
subsidiaries in carrying out their duties under the Bankruptcy Code and to take any and all
actions to advance the Company’s and its subsidiaries’ rights and interests; and, in connection
therewith, each Authorized Officer be, and hereby is, authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and after the filing of the
Company’s chapter 11 case, and cause to be filed an appropriate application for authority to
retain the services of Alvarez;

        RESOLVED FURTHER, that in connection with the appointment of the Chief
Restructuring Officer and the retention of the services of Alvarez, the Board hereby approves the
entering into, execution and delivery of, an amended and restated engagement letter with
Alvarez, and the performance by the Company of its obligations thereunder, in such form as any
Authorized Officer shall in their sole discretion approve, such approval to be conclusively
established by the execution and delivery by such Authorized Officer of such agreement;

        RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage the law firm of Akin Gump
Strauss Hauer & Feld LLP (“Akin Gump”) as general bankruptcy counsel to represent and assist
the Company and its subsidiaries in carrying out their duties under the Bankruptcy Code and to
take any and all actions to advance the Company’s and its subsidiaries’ rights and interests,
including filing any pleadings and making any filings with regulatory agencies or other
governmental authorities; and, in connection therewith, each Authorized Officer be, and hereby
is, authorized and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and after the filing of the Company’s chapter 11 case, and cause to be filed an
appropriate application for authority to retain the services of Akin Gump;

       RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage Prime Clerk LLC (“Prime
Clerk”) as claims, notice and balloting agent to represent and assist the Company and its
subsidiaries in carrying out their duties under the Bankruptcy Code and to take any and all
actions to advance the Company’s and its subsidiaries’ rights and interests; and, in connection
therewith, each Authorized Officer be, and hereby is, authorized and directed to execute




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appropriate retention agreements, pay appropriate retainers prior to and after the filing of the
Company’s chapter 11 case, and cause to be filed an appropriate application for authority to
retain the services of Prime Clerk;

        RESOLVED FURTHER, that each Authorized Officer, be, and hereby is authorized and
empowered on behalf of, and in the name of, the Company to engage Lazard Ltd. (“Lazard”) as
financial advisor to represent and assist the Company and its subsidiaries in carrying out their
duties under the Bankruptcy Code and to take any and all actions to advance the Company’s and
its subsidiaries’ rights and interests; and, in connection therewith, each of the Authorized
Officers be, and hereby is, authorized and directed to execute appropriate retention agreements,
pay appropriate retainers prior to and after the filing of the Company’s chapter 11 case, and
cause to be filed an appropriate application for authority to retain the services of Lazard;

        RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage the law firm of Brouse
McDowell LPA (“Brouse”) as local counsel to represent and assist the Company and its
subsidiaries in carrying out their duties under the Bankruptcy Code and to take any and all
actions to advance the Company’s and its subsidiaries’ rights and interests, including filing any
pleadings and making any filings with regulatory agencies or other governmental authorities;
and, in connection therewith, each Authorized Officer be, and hereby is, authorized and directed
to execute appropriate retention agreements, pay appropriate retainers prior to and after the filing
of the Company’s chapter 11 case, and cause to be filed an appropriate application for authority
to retain the services of Brouse;

        RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage the law firm of Willkie
Farr & Gallagher LLP (“Willkie”) as conflicts counsel to represent and assist the Company and
its subsidiaries in carrying out their duties under the Bankruptcy Code and to take any and all
actions to advance the Company’s and its subsidiaries’ rights and interests, including filing any
pleadings and making any filings with regulatory agencies or other governmental authorities;
and, in connection therewith, each Authorized Officer be, and hereby is, authorized and directed
to execute appropriate retention agreements, pay appropriate retainers prior to and after the filing
of the Company’s chapter 11 case, and cause to be filed an appropriate application for authority
to retain the services of Willkie;

        RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage the law firm of Hogan
Lovells US LLP (“Hogan”) as nuclear regulatory counsel to represent and assist the Company
and its subsidiaries in carrying out their duties under the Bankruptcy Code and to take any and
all actions to advance the Company’s and its subsidiaries’ rights and interests, including filing
any pleadings and making any filings with regulatory agencies or other governmental authorities;
and, in connection therewith, each Authorized Officer be, and hereby is, authorized and directed
to execute appropriate retention agreements, pay appropriate retainers prior to and after the filing
of the Company’s chapter 11 case, and cause to be filed an appropriate application for authority
to retain the services of Hogan;




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        RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage ICF International, Inc.
(“ICF”) as industry consultants to represent and assist the Company and its subsidiaries in
carrying out their duties under the Bankruptcy Code and to take any and all actions to advance
the Company’s and its subsidiaries’ rights and interests; and, in connection therewith, each
Authorized Officer be, and hereby is, authorized and directed to execute appropriate retention
agreements, pay appropriate retainers prior to and after the filing of the Company’s chapter 11
case, and cause to be filed an appropriate application for authority to retain the services of ICF;

        RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage the law firm of Quinn
Emanuel Urquhart & Sullivan, LLP (“Quinn”) as special litigation counsel to represent and
assist the Company and its subsidiaries in carrying out their duties under the Bankruptcy Code
and to take any and all actions to advance the Company’s and its subsidiaries’ rights and
interests, including filing any pleadings and making any filings with regulatory agencies or other
governmental authorities; and, in connection therewith, each Authorized Officer be, and hereby
is, authorized and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and after the filing of the Company’s chapter 11 case, and cause to be filed an
appropriate application for authority to retain the services of Quinn;

        RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage the law firm of Stark &
Knoll Co., L.P.A. (“Stark”) as local conflicts counsel to represent and assist the Company and its
subsidiaries in carrying out their duties under the Bankruptcy Code and to take any and all
actions to advance the Company’s and its subsidiaries’ rights and interests, including filing any
pleadings and making any filings with regulatory agencies or other governmental authorities;
and, in connection therewith, each Authorized Officer be, and hereby is, authorized and directed
to execute appropriate retention agreements, pay appropriate retainers prior to and after the filing
of the Company’s chapter 11 case, and cause to be filed an appropriate application for authority
to retain the services of Stark;

       RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage KPMG US LLP
(“KPMG”) as tax consultant to represent and assist the Company and its subsidiaries in carrying
out their duties under the Bankruptcy Code and to take any and all actions to advance the
Company’s and its subsidiaries’ rights and interests; and, in connection therewith, each
Authorized Officer be, and hereby is, authorized and directed to execute appropriate retention
agreements, pay appropriate retainers prior to and after the filing of the Company’s chapter 11
case, and cause to be filed an appropriate application for authority to retain the services of
KPMG;

        RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage Sitrick and Company
(“Sitrick”) as communications consultant to represent and assist the Company and its
subsidiaries in carrying out their duties under the Bankruptcy Code and to take any and all
actions to advance the Company’s and its subsidiaries’ rights and interests; and, in connection
therewith, each Authorized Officer be, and hereby is, authorized and directed to execute




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appropriate retention agreements, pay appropriate retainers prior to and after the filing of the
Company’s chapter 11 case, and cause to be filed an appropriate application for authority to
retain the services of Sitrick;

       RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage any other professionals as
deemed necessary or appropriate in their respective sole discretion to assist the Company and its
subsidiaries in carrying out their duties under the Bankruptcy Code, including executing
appropriate retention agreements, paying appropriate retainers prior to or after the filing of the
Company’s chapter 11 case, and filing appropriate applications for authority to retain the
services of any other professionals as any Authorized Officer shall in their sole discretion deem
necessary or desirable;

        RESOLVED FURTHER, that each Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to (i) take or cause to be taken any
and all such further actions and to prepare, execute and deliver or cause to be prepared, executed
and delivered and, where necessary or appropriate, file or cause to be filed with the appropriate
governmental authorities, all such necessary or appropriate instruments and documents, (ii) incur
and pay or cause to be paid all fees and expenses associated with or arising out of the actions
authorized herein, and (iii) engage such persons as any Authorized Officer shall in their sole
discretion deem necessary or desirable to carry out fully the intent and purposes of the foregoing
resolutions and each of the transactions contemplated thereby, such determination to be
conclusively established by the taking or causing of any such further action;

        RESOLVED FURTHER, that all lawful actions of any kind taken prior to the date hereof
by the Authorized Officers, or any person or persons designated or authorized to act by an
Authorized Officer, which acts would have been authorized by the foregoing resolutions, except
that such acts were taken prior to the adoption of such resolutions, are hereby severally ratified,
confirmed, approved and adopted as acts of the Company;

        RESOLVED FURTHER, that the signature of any Authorized Officer on any document,
instrument, certificate, agreement or other writing shall constitute conclusive evidence that such
officer deemed such act or thing to be necessary, advisable or appropriate; and

        RESOLVED FURTHER, that any Authorized Officer be, and hereby is, authorized and
empowered to certify and to furnish such copies of these resolutions as may be necessary and
such statements of incumbency of the corporate officers of the Company as may be requested.

                                         *********




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                         UNITED STATES BANKRUPTCY COURT
                                           Northern District of Ohio



Debtor FirstEnergy Solutions Corp.                                     Case number (if known)



                              LIST OF EQUITY SECURITY HOLDERS
        Following is the list of the Debtor’s equity holders which is prepared in accordance with Fed. R. Bankr. P.
1007(a)(3) for filing this chapter 11 case.



Name and last known address or place      Security Class          Number of Shares or           Kind of Interest
of business of holder                                             Securities

FirstEnergy Corp.
76 South Main St., Akron, OH 44308        Common Stock            7                             Common Stock




                                     LIST OF EQUITY SECURITY HOLDERS


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                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

                                                    )   Chapter 11
In re:                                              )
                                                    )   Case No. 18-_______(___)
FIRSTENERGY SOLUTIONS CORP., et al.,                )   (Request for Joint Administration
                                                    )   Pending)
                                Debtors.            )
                                                    )   Hon. Judge Alan M. Koschik
                                                    )


                    CORPORATE OWNERSHIP STATEMENT
            PURSUANT TO FED. R. BANKR. P. 1007(a)(1) AND (3) AND 7007.1


         Pursuant to Rules 1007(a)(1) and (3) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, FirstEnergy Solutions Corp.; FE Aircraft Leasing Corp.; FirstEnergy Generation,

LLC; FirstEnergy Generation Mansfield Unit 1 Corp.; FirstEnergy Nuclear Generation, LLC;

FirstEnergy Nuclear Operating Company; and Norton Energy Storage L.L.C. (collectively, the

“Debtors”), respectfully represent:


    1. 100% of the shares of common stock of FirstEnergy Solutions Corp. are directly owned

         by FirstEnergy Corp.

    2. 100% of the shares of common stock of FE Aircraft Leasing Corp. are directly owned by

         FirstEnergy Solutions Corp.

    3. 100% of the membership interests of FirstEnergy Generation, LLC are directly owned by

         FirstEnergy Solutions Corp.

    4. 100% of the shares of common stock FirstEnergy Generation Mansfield Unit 1 Corp. are

         directly owned by FirstEnergy Generation, LLC.




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   5. 100% of the membership interests of FirstEnergy Nuclear Generation, LLC are directly

      owned by FirstEnergy Solutions Corp.

   6. 100% of the shares of common stock of FirstEnergy Nuclear Operating Company are

      directly owned by FirstEnergy Corp.

   7. 100% of the membership interests of Norton Energy Storage L.L.C. are directly owned

      by FirstEnergy Generation, LLC.




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                 LQFOXGLQJ]LSFRGH                                 FUHGLWRUFRQWDFW                                  VHUYLFHVDQGJRYHUQPHQWFRQWUDFWV                        FRQWLQJHQW &                              'HGXFWLRQIRU
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&KLHI)LQDQFLDO2IILFHU                              3KRQH  
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                 LQFOXGLQJ]LSFRGH                                 FUHGLWRUFRQWDFW                                  VHUYLFHVDQGJRYHUQPHQWFRQWUDFWV                        FRQWLQJHQW &                              'HGXFWLRQIRU
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$7710DUN*UHJRU\                                   (PDLO1XFOHDUVROXWLRQV#5ROOV5R\FH&RP
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&KLHI)LQDQFLDO2IILFHU                                           3KRQH  
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$771-LP:DOWHUV                                                 (PDLO
&KLHI)LQDQFLDO2IILFHU                                           3KRQH  
%UDQG(QHUJ\$QG,QIUDVWUXFWXUH                                  )D[  
&REE,QW'U6WH$
.HQQHVDZ*$
                                                                                                                                                                                                       8                                                      
 7KHVHWWOHPHQWDJUHHPHQWGRHVQRWDOORFDWHWKHVHWWOHPHQWDPRXQWEHWZHHQWKHWZRSDUWLHV




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